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AO 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT
for the
District of Maine

United States of America

V. )
Marianne Smyth ) Case No. \au- MC- O00 F4- TON
)
)
)
)
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) Marianne Smyth :
who is accused of an offense or violation based on the following document filed with the court:

O Indictment O Superseding Indictment 0 Information © Superseding Information w Complaint
© Probation Violation Petition C Supervised Release Violation Petition O Violation Notice © Order of the Court

This offense is briefly described as follows:

Pursuant to 18 U.S.C. § 3184, being a fugitive from the United Kingdom, which has sought Smyth's arrest pursuant to the
extradition treaty between the United States and the United Kingdom, for fraud by abuse of position and theft in violation of
the criminal law of the United Kingdom.

ff

: Gey
Issuing officer's signature

pate: _ de x 2Y¥

City and state: Banaor Mane John ¢@. NUyison, US. Mag orate Jodq<
Oo : :
Printed name and title
Return
This warrant was received on (date) _ , and the person was arrested on (date)

at (city and state)

Date:

Arresting officer's signature

Printed name and title

